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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK


UNITED STATES SECURITIES AND EXCHANGE                17-cv-4179-DLC
COMMISSION,

                            Plaintiff,
                                                       ECF CASE
     - against -

ALPINE SECURITIES CORPORATION,

                            Defendant.


                PLAINTIFF UNITED STATES SECURITIES AND
             EXCHANGE COMMISSION’S REPLY MEMORANDUM IN
                   SUPPORT OF ITS MOTION TO STRIKE




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       Plaintiff United States Securities and Exchange Commission (the “Commission”) submits

this Reply in Support of its Motion to Strike (Doc No. 54 “Motion”). 1

                                        INTRODUCTION

       The Commission’s Motion explains that the allegations in Alpine’s Amended Answer do

not fit within the narrow exception to the general rule barring equitable defenses against the

government. Motion at 3. This narrow exception rarely applies and requires a defendant to allege

misconduct that prejudices its ability to defend the lawsuit and also rises to a constitutional level.

SEC v. KPMG LLP, 2003 WL 21976733, at *2 (S.D.N.Y. Aug. 20, 2003) (Cote, J.). Alpine does

not dispute that the exception to the general bar is narrow and rarely applied in its opposition to

the Motion (“Opposition” or “Opp.”). Indeed, Alpine ignores the exception entirely and fails to

explain any actual prejudice to its defense caused by a constitutional violation. Rather than

prejudice to its ability to defend this action, Alpine rests its equitable defenses on the prejudice

that will result if the Commission prevails in this action—payment of monetary penalties.

       Alpine also fails to allege a constitutional violation or even the elements of each defense.

The Opposition is littered with Alpine’s (erroneous) beliefs about the Commission’s motives and

Alpine’s speculation of what it might find in discovery. These beliefs and speculation are not

enough to get past the rule against equitable defenses. Alpine must allege facts of Commission

conduct that supports those beliefs, and the only conduct alleged is that the Commission

participated in joint proffer sessions with the DOJ (which is proper and not unusual), filed this

action in a venue approved by Congress and the Court within the time allowed by Congress, and

seeks remedies approved by Congress. Stripped of the repetitive statements of Alpine’s beliefs

1
 Citations to the “Motion” refer to the Commission’s Memorandum of Law in Support of the
Motion (Doc. No. 55).
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about motive and its speculation of what it might find in the fishing expedition Alpine seeks in

discovery, the allegations in the Amended Answer fail to distinguish Alpine from any other

subject of a typical government investigation and enforcement action. These equitable defenses

therefore cannot fit within the narrow exception that applies here and should be stricken.

                                          ARGUMENT

I.     ALPINE FAILS TO ALLEGE ACTUAL PREJUDICE OR THE ELEMENTS OF
       ESTOPPEL AND WAIVER.

       The Opposition misstates the Motion and ignores the narrow window in which it can

assert estoppel and waiver defenses against the Commission. Opp. at 15-16. As set forth in the

Motion, equitable defenses against the government are available in limited circumstances:

               Where courts have permitted equitable defenses to be raised
               against the government, they have required that the agency’s
               misconduct be egregious and the resulting prejudice to the
               defendant rise to a constitutional level.

SEC v. Elecs. Warehouse, Inc., 689 F. Supp. 53, 73 (D. Conn. 1988), aff’d sub nom. SEC v.

Calvo, 891 F.2d 457 (2d Cir. 1989). Alpine must allege outrageous or unconstitutional conduct

during the investigation that prejudiced Alpine’s ability to defend the action. Id.; see Motion at 3;

KPMG LLP, 2003 WL 21976733, at *2; see also SEC v. Rosenfeld, No. 97 CIV. 1467 (RPP),

1997 WL 400131, at *2 (S.D.N.Y. July 16, 1997) (“Without more concrete and specific

allegations in the Amended Answer of how defendant’s ability to defend himself or defendant’s

access to witnesses or evidence which would aid in his defense have been compromised by the

SEC’s actions, defendant will not be permitted to use the affirmative defense to engage in a

“fishing expedition” to discover any potential prejudice.”).




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       Accordingly, the Opposition’s lengthy analysis about the general availability of equitable

defenses and its citations to cases that do not involve defenses asserted against a government

entity are beside the point. Opp. at 4-6, 14-16. The fact that Alpine ignores the “narrow window”

in which these defenses can be asserted is significant because the Opposition fails to identify any

prejudice to Alpine’s ability to defend this lawsuit, let alone prejudice caused by a constitutional

violation. Instead, the Opposition argues (many times) that the Commission induced Alpine to

commit the violations alleged in the Complaint and then delayed filing this lawsuit. Opp. at 16-

21. Both of these allegations fail to establish the prejudice required for equitable defenses and the

Opposition fails to rebut the Motion’s point that Alpine did not (and cannot) adequately allege

the elements of the estoppel and waiver defenses. Motion at 4.

       First, the Opposition fails because it relies on a misstatement of the Complaint. The

Opposition’s theory is that the Commission induced Alpine into the misconduct alleged in the

Complaint through statements made during an exam by the Commission’s Office of Compliance

Inspections and Examinations (“OCIE”) and also by failing to notify Alpine of the guidance used

to interpret the BSA in the Complaint. Opp. at 16-18. The defense therefore necessarily depends

on a Complaint claiming that Alpine violated the BSA regulations by following Commission

advice based on interpretative guidance kept hidden from Alpine.

       No such Complaint exists. Instead, the Complaint claims that Alpine failed to comply

with applicable regulations and heed warnings from OCIE and FINRA. Complaint ¶ 22 (FINRA

Disposition Letter warned Alpine that its SARS were “substantively inadequate”); ¶ 24 (“OCIE

issued Alpine an examination deficiency letter, finding that “the Firm failed to disclose in the

SAR narrative … material information that was contained in the Firm’s investigative files.”); ¶


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27 (“Despite these repeated warnings, Alpine has failed to adequately remedy the defects in the

implementation of its BSA Compliance Program.”). Alpine admits that FINRA and OCIE issued

the formal letters alleged in the Complaint. Amended Answer ¶ 22 (“...Alpine admits that

FINRA conducted an examination of Alpine beginning in about May of 2012 and that FINRA

provided an Examination Disposition Letter to Alpine on September 28, 2012....”); ¶ 24

(“…Alpine admits that OCIE issued Alpine a letter….”).

       Alpine’s allegation that an unnamed staff member from OCIE “informed” an unnamed

Alpine employee that Alpine was “filing too many SARs” on an unspecified date “during prior

regulatory examinations by OCIE” is materially indistinguishable from the statement relied upon

by the defendant in KPMG. See 2003 WL 21976733, at *4, see Opp. at 16. Like the alleged

statement that Alpine was “filing too many SARs,” the statement in KPMG that the defendant’s

accounting methodology covered all necessary issues, i.e. the defendant “hit them all,” was

issued outside of a mechanism available to the defendant through which the defendant could

learn the SEC’s formal position on a matter. Id. Here, the examination deficiency letter was the

clear mechanism through which Alpine could reasonably understand the Commission’s position.

It is also significant here that Alpine identifies no SARs or groups of SARs that (a) the

Commission alleges should have been filed; and which (b) Alpine would have filed but for the

alleged comment that Alpine was filing “too many SARs.” This is especially significant because

the only allegations that Alpine failed to file SARs are based on the fact that Alpine did file

SARs on related deposits. Like the accountants in KMPG, Alpine has legal duties that “do not

cease once the SEC begins an investigation….[T]he SEC must be able to conduct reasonable




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investigations without the risk that oral communications such as those alleged here will create a

bar to the agency’s pursuit of claims.” Id.

       Further, far from the claimed “secret” guidance unknown to Alpine, the Complaint

expressly relies on (and often cites) the text of the Bank Secrecy Act (“BSA”), BSA regulations,

instructions on SAR forms that Alpine used thousands of times, and publicly available guidance

published by FinCEN, 2 which Alpine incorporated into its own BSA Compliance Program.

Complaint ¶¶ 2, 3, 11-13, 17-21, 29, 34, 39, 42, 45-47. The Commission could not possibly have

concealed these authorities and Alpine even admits that it had access to the same authorities it

claims were kept hidden. See Amended Answer ¶ 29 (“Alpine admits that it has incorporated

guidance from FinCEN into its BSA compliance program.”). Although Alpine is entitled to

reasonable inferences that can be drawn from factual allegations, Alpine is not entitled to

misstate the Complaint to manufacture an estoppel and waiver theory.

       Finally, Alpine’s argument about delay also fails. Opp. at 19. Delay has nothing to do

with the elements necessary to show estoppel or waiver. Motion at 4. Laches is the equitable

defense based on delay and is not available against the government in an enforcement action.

SEC v. Toomey, 866 F. Supp. 719, 725 (S.D.N.Y. 1992) (“A defense of laches has been stricken

when the SEC brings an action, as here, to enjoin the defendant from further violations of the

securities trading laws.”); see United States v. Angell, 292 F.3d 333, 338 (2d Cir. 2002)

(“[L]aches is not available against the federal government when it undertakes to enforce a public

right or protect the public interest.”). Alpine cannot evade the rule against equitable defenses

2
 See https://www.fincen.gov/resources/statutes-regulations/guidance. Exhibit B, attached hereto,
describes FinCEN’s regulatory releases, including regulations, regulatory interpretations and
guidance, advisories, and enforcement assessments and consent assessments, and is available at
https://www.fincen.gov/sites/default/files/shared/regrelease.pdf.
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based on delay by labeling the defense “estoppel” or “waiver.” See Graham v. S.E.C., 222 F.3d

994, 1008 (D.C. Cir. 2000) (“[T]he SEC’s failure to prosecute at an earlier stage does not estop

the agency from proceeding once it finally accumulated sufficient evidence to do so.”).

       There is no question of fact or law that would allow the defenses of estoppel and waiver

to succeed. They should be stricken.

II.    ALPINE FAILS TO ALLEGE ACTUAL PREJUDICE OR THE ELEMENTS OF
       UNCLEAN HANDS.

       In an attempt to salvage its Nineteenth Defense, Alpine first sets up a strawman by

misstating the Motion. Contrary to the Opposition, the Commission does not argue that “unclean

hands” defenses can never be asserted against the Government. See Opp. at 6 (Alpine’s unclean

hands defense “is not foreclosed as a matter of law, and should not be struck, simply because it is

asserted against a government defendant”). As explained above and in the Motion, the narrow

exception to the rule against equitable defenses applies only if Alpine can allege that the

Commission engaged in outrageous or unconstitutional activity during the investigation that

prejudiced Alpine’s ability to defend the action. Motion at 3; Section I, supra. With respect to its

unclean hands defense, Alpine has failed to satisfy any of these requirements.

       The Opposition does nothing to refute the Commission’s position that Alpine’s factual

allegations regarding the “conduct” of the Commission are insufficient to support a finding that

the conduct was in any way improper, much less “outrageous or unconstitutional.” As an initial

matter, Alpine’s factual allegations regarding the Commission’s conduct primarily focus on

actions by the Commission in this action. See, e.g., Amended Answer at 20-23 (the Commission

alleged that Alpine facilitated fraud in the Complaint filed in this action, Alpine believes the

Commission is seeking excessive penalties in this action, the Commission selected venue in this

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district for this action.) As set forth in the Motion, even if the Commission engaged in improper

conduct in this action (it did not) this conduct could not form the basis for an unclean hands

defense as a matter of law. Elecs. Warehouse, Inc., 689 F. Supp. at 73 (“Conduct which occurs

during the litigation of a lawsuit, rather than during the accrual of the action, cannot form the

basis of an equitable defense.”). Alpine does not dispute this point with any contrary authority or

argument in its Opposition and fails to explain how the Commission’s alleged conduct in this

action could support an unclean hands defense. Accordingly, Alpine’s allegations regarding the

Commission’s conduct in this action cannot support an unclean hands defense.

        Instead of allegations of actual conduct during the investigation, Alpine fills much of its

Amended Answer and Opposition with what Alpine (mistakenly) believes is the Commission’s

intent or motivation in filing this action. Alpine bases these allegations on “information and

belief” rather than on allegations of fact. See, e.g., Amended Answer at 20 (Doc. No. 48)

(alleging “[u]pon information and belief” that the Commission commenced its enforcement

action “in retaliation for” Alpine’s involvement in the microcap market, and to “try to force

Alpine out of business through excessive regulatory inquiries.”); Opp. 9-10 (“Alpine believes,

and has thus alleged….Alpine also believes and has alleged….”). Alpine has not alleged any

facts indicating that the Commission’s motivation in bringing this action is anything other than to

enforce the federal securities laws, which cannot be an improper motive. Bizzarro v. Miranda,

394 F.3d 82, 87 (2d Cir. 2005). These conclusory allegations, based on speculation, are

insufficient to survive a motion to strike. Further, Alpine does not explain in its Opposition how

allegations regarding the Commission’s purported motivation in bringing this action prejudiced

Alpine’s ability to defend itself.


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       Alpine’s related claim that the Commission engaged in “selective” enforcement also fails.

Once again, Alpine misstates the Motion. The Commission does not argue that a claim for

selective enforcement can never be asserted against the government, 3 but rather that Alpine has

failed to allege facts necessary to support such a claim. See Motion at 6 (“Alpine failed to allege

facts to support a selective enforcement claim.”). A claim of selective application of Section

17(a) requires a showing that

               (1) Alpine “compared with others similarly situated, was
               selectively treated, and (2) the selective treatment was motivated
               by an intention to discriminate on the basis of impermissible
               considerations, such as race or religion, to punish or inhibit the
               exercise of constitutional rights, or by a malicious or bad faith
               intent to injure the person.”

FSK Drug Corp. v. Perales, 960 F.2d 6, 10 (2d Cir. 1992). Alpine’s allegations do not satisfy

either element for the reasons set forth in the Motion, and nothing in Alpine’s Opposition can

save its claim. In its Opposition, Alpine was unable to point to factual allegations that any firm

was “similarly situated” but treated differently, see Opposition at 11-12, likely for the good

reason that the Commission does file actions for violations of Section 17(a) based on SARs. E.g.,

In re Wells Fargo Advisors, LLC, Rel No. 82054 (Nov. 13, 2017). Further, Alpine’s argument in

its Opposition regarding the second element (intent to harm) is merely a restatement of the

conclusory allegations regarding the Commission’s alleged intent and fail for the same reasons

addressed in the preceding paragraph. In sum, Alpine’s allegations are insufficient to support a

selective enforcement claim because they fail to meet the required elements.


3
 However, a claim based on selective enforcement is one for affirmative relief, rather than an
affirmative defense, and cannot be properly asserted in this lawsuit. See Motion at 7; FSK Drug,
960 F.2d at 10; 15 U.S.C. § 78u(g) (no other actions may be consolidated with an action for
equitable relief instituted by the Commission without the Commission’s consent).
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       Alpine’s unclean hands defense also fails because Alpine has not alleged specific harm to

Alpine’s ability to defend this action. Alpine identifies two types of purported prejudice: (1)

harm to “Alpine’s good will and continued operation of its lawful business”; and (2) harm to

“Alpine’s ability to adequately and sufficiently defend itself against Plaintiff’s allegations in this

action.” Amended Answer at 22. As explained in the Motion, alleged loss of goodwill is “not the

kind of ‘prejudice’ which may be pleaded as an equitable defense to a SEC injunctive action”

and mere recitation of the pleading standard is not enough to save the affirmative defense from

being stricken. Elec. Warehouse, 689 F.Supp 53 at 73. The Opposition does not even attempt to

rebut this point. Nor does the Opposition provide any additional argument in support of Alpine’s

rote recitation of prejudice. It merely insists that Alpine “has a right to conduct discovery”

regarding its allegations that will show purported prejudice. Opp. at 10. However, “in an

enforcement action like this one, a defendant’s pure speculation about potential prejudice is not

enough to permit an equitable defense against the SEC to go forward, even at the pleading

stage.” SEC v. Am. Growth Funding II, LLC, No. 16CV00828 (KMW) (DF), 2016 WL 8314623,

at *7 (S.D.N.Y. Dec. 30, 2016). Alpine’s failure to allege any facts supporting its claim of

prejudice is alone dispositive.

       Finally, the argument that the Commission and criminal authorities pursued parallel

investigations is internally inconsistent and conclusory. Alpine argues based on “information and

belief” that (1) the Commission improperly commenced its investigation to help criminal

authorities; and (2) improperly attempted to persuade criminal authorities “to pursue a parallel

criminal investigation” to help the Commission’s case. Opp. at 11-12, 7. The contradictory

arguments are unsupported by any actual facts that would support inferences of improper


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motives. The only actual fact alleged is the existence of parallel investigations. Under Alpine’s

reasoning, any defendant in an SEC enforcement action involving a parallel criminal

investigation could successfully plead an unclean hands defense without alleging any facts

indicating improper conduct. This reasoning cannot be reconciled with the narrow exception to

the rule barring the defense and established law that it is entirely appropriate for the Commission

to conduct parallel investigations with criminal authorities. See, e.g., United States v. Kordel, 397

U.S. 1, 11 (1970).

       This case is distinguishable from SEC v. Nacchio, where the defendant asserted specific

violations of Fed.R.Crim.Pro. 6(e), which concerned improper disclosures to the SEC of

“information and documents in possession of the United States Attorney’s Office.” 438

F.Supp.2d. 1266, 1287 n.13 (D. Colo. 2006). In contrast, Alpine does not allege specific conduct

during the parallel investigations that was both improper and that prejudiced Alpine’s ability to

defend the action. The allegations in the Amended Answer do not distinguish the instant case

from a typical investigation and subsequent enforcement action and, as a result, the unclean

hands defense cannot fit into the narrow exception to the rule against equitable defenses.

                                         CONCLUSION

       For the reasons above and those stated in the Motion, the Court should strike Alpine’s

Sixteenth Defense and Nineteenth Defense without leave to amend.




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Respectfully submitted this 22nd day of December, 2017.


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                              CERTIFICATE OF SERVICE

      I certify that on December 22, 2017, a copy of the foregoing document was served via

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